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                              UNITED STATES DISTRICT COURT
  13
               CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
  14
       LUCAS R., et al.,                        No. CV 2:18-CV-05741-DMG-PLA
  15
                       Plaintiffs,              NOTICE OF MOTION AND MOTION FOR
  16
                                                PRELIMINARY INJUNCTION RE:
  17         v.                                 PLAINTIFF LUCAS R.
  18   ALEX AZAR, Secretary of U.S.             Hearing: August 31, 2018
       Department of Health and Human           Time:    9:30 a.m.
  19
       Services; et al.,                        Room:    1st St. Courthouse
  20                                                     Courtroom 8C
                       Defendants.
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Case 2:18-cv-05741-DMG-PLA Document 29 Filed 08/03/18 Page 2 of 3 Page ID #:679



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                                              -2-         NOTICE OF MOTION AND MOTION FOR
                                                                      CLASS CERTIFICATION
                                                                         CV 2:18-CV-05741
Case 2:18-cv-05741-DMG-PLA Document 29 Filed 08/03/18 Page 3 of 3 Page ID #:680



   1         To Defendants and their attorneys of record:
   2         PLEASE TAKE NOTICE that on August 31, 2018, at 9:30 a.m., or as soon
   3   thereafter as counsel may be heard, Plaintiffs will and do hereby move the Court
   4   pursuant to Fed. R. Civ. Proc. 65 of the Federal Rules of Civil Procedure to issue a
   5   preliminary injunction against Defendants’ continuing to detain Plaintiff Lucas R. in
   6   lieu of release to his next friend and sister, Madelyn R.
   7         This motion is based upon the accompanying memorandum of law and exhibits
   8   and all other matters of record herein.
   9         This motion is made following the conference of counsel pursuant to Local
  10   Rule 7-3 which took place on July 17, 2018. On July 24, 2018, Defendants indicated
  11   they will oppose this motion.
  12   Dated: August 3, 2018.                       CARLOS HOLGUÍN
                                                    Center for Human Rights &
  13                                                Constitutional Law
  14                                                HOLLY COOPER
                                                    CARTER WHITE
  15                                                University of California Davis School of
                                                    Law
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  17                                                LEECIA WELCH
                                                    NEHA DESAI
  18                                                POONAM JUNEJA
                                                    CRYSTAL ADAMS
  19                                                National Center for Youth Law
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  21                                                 /s/ Carlos Holguín
  22                                                 Carlos Holguín
  23                                                   One of the Attorneys for Plaintiffs
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                                                 -3-                NOTICE OF MOTION AND MOTION FOR
                                                                                CLASS CERTIFICATION
                                                                                   CV 2:18-CV-05741
